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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                             CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG


                                    ORDER

      This cause is before the Court on Defendant’s Amended Unopposed Motion

to Continue Sentencing for a Period of Ninety (90) Days, filed July 6, 2021 (Doc.

118). Upon consideration, it is

      ORDERED that the motion is GRANTED.               The sentencing hearing

previously scheduled for August 19, 2021, is continued to November 18, 2021, at

9:00 a.m. This hearing will be held before the Honorable Gregory A. Presnell in

Courtroom 5A, United States Courthouse, 401 West Central Boulevard, Orlando,

Florida. The defendant is required to be present.

      Sentencing memoranda and any exhibits shall be submitted at least ten days

prior to sentencing. Any motions with respect to departure from the sentencing

guidelines shall be filed no later than seven days prior to sentencing, with

responses due no later than three business days prior to sentencing.

      Seating may be limited in Courtroom 5A. However, at least one overflow

courtroom with both audio and video feed of the hearing will be provided for the

public and members of the media.
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      No electronics shall be permitted inside the courthouse other than those

allowed pursuant to M.D. Fla. Local Rule 7.02. No electronics shall be brought

into Courtroom 5A or any overflow courtroom except by counsel for the parties

and their staff. Members of the press shall not be permitted to bring electronics

into the courthouse or courtroom for this hearing.

      This is an in-person hearing and remote access to the hearing will not be

available. All inquiries by any member of the press shall be directed to the

Middle District of Florida’s Information Officer/Attorney Advisor Megan

Mann at 904-549-1915. Members of the press shall not contact my chambers

directly.

      DONE and ORDERED in Orlando, Florida on July 7, 2021.




Copies furnished to:

United States Marshal
United States Attorney
United States Probation Office
United States Pretrial Services Office
Counsel for Defendant




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